       Case 13-52787-grs       Doc 19     Filed 10/24/18 Entered 10/24/18 07:48:46             Desc Main
                                          Document      Page 1 of 1


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                       LEXINGTON DIVISION

       IN RE

       CARL BRANDON BAKER                                                           CASE NO. 13-52787
       TINA MAE BAKER

       DEBTORS


                                                    ORDER

               This matter is before the Court on the Debtors’ Motion to Avoid Judgment Lien [ECF

       No. 17]. The Debtors seek to avoid a judicial lien that attaches to real property as impairing their

       exemption under 11 U.S.C. § 522(f). The relief requested cannot be granted because the Motion

       is not properly served pursuant to Federal Rule of Bankruptcy Procedure 4003(d) and

       7004(b)(3). Based on the foregoing, it is ORDERED the Debtor’s Motion is DENIED without

       prejudice.




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__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                       Signed By:
                                                       Gregory R. Schaaf
                                                       Bankruptcy Judge
                                                       Dated: Wednesday, October 24, 2018
                                                       (grs)
